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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

A.J.,                                   :
                                        :
        Plaintiff,                      :      CIVIL ACTION FILE
                                        :      NO. 1:22-cv-02752-LMM
        v.                              :
                                        :
PACIFIC CAPITAL                         :
FUNDING, LLC,                           :
                                        :
        Defendants.                     :

    ORDER GRANTING PLAINTIFF’S MOTION FOR PROTECTIVE
       ORDER AND LEAVE TO PROCEED ANONYMOUSLY

        This case comes before the Court on Plaintiff’s Motion for Protective Order

and Leave to Proceed Anonymously. The Court finds that the privacy and safety

interests of Plaintiff and witnesses identified or suspected of being victims of sex

trafficking outweigh the public’s interest in knowing those identities.

        Therefore, Plaintiff’s motion is GRANTED. The Court hereby ORDERS

that all material, documents, pleadings, exhibits and evidence of any kind filed in

this case shall refer to Plaintiff as A.J. with no other additional identifying

information. The Court further ORDERS that all material, documents, pleadings,

exhibits and evidence of any kind filed in this case shall refer to any witness

identified by counsel for either party as a victim of sex trafficking or a suspected
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victim of sex trafficking shall refer to those witnesses by pseudonymous initials

only. Upon the entry of this Order, Plaintiff shall privately disclose her name to

Defendants. Defendants shall also be able to conduct discovery using Plaintiff’s or

witnesses’ names; however, for any documents that are publicly filed, the names of

Plaintiff and all witnesses identified or suspected of being sex trafficking victims

shall be redacted or referred to only by the appropriate pseudonymous initials.



                             3rd DAY OF________________
      IT IS SO ORDERED THIS______         August        , 2022.



                          __________________________________________
                          Judge Leigh Martin May, USDC
                          Northern District of Georgia

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